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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

JOEANN BESTER and NNEKA                    )
GUNN,                                      )
                                           )
      Plaintiffs,                          )          Civil Action Number
v.                                         )          2:18-cv-01817-AKK
                                           )
COMPASS BANK d/b/a BBVA                    )
COMPASS,                                   )
                                           )
      Defendant.                           )

                          MEMORANDUM OPINION

      Joeann Bester and Nneka Gunn bring this putative class action against

Compass Bank d/b/a BBVA Compass for alleged violations of the Equal Pay Act

and § 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981. See doc. 1. This

action is before the court on Compass’s motion to strike the class and collective

actions claims and to compel arbitration of the plaintiffs’ individual claims. Doc.

9. The motion is fully briefed and ripe for review, docs. 9, 12, 13, and is due to be

granted solely as to Compass’ request to compel arbitration.

I.    STANDARD OF REVIEW

       When presented with a motion to compel arbitration, the district court must

determine whether the arbitration agreement at issue can be enforced against the

parties who oppose arbitration. Magnolia Capital Advisors, Inc. v. Bear Stearns &

Co., 272 F. App’x 782, 785 (11th Cir. 2008) (citing
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Humphrey Co., 957 F.2d 851, 854 (11th Cir. 1992)). The party opposing the

motion must present evidence that the arbitration agreement is not valid or does not

apply to the dispute in question. See id. (quoting Wheat, First Secs., Inc. v. Green,

993 F.2d 814, 819 (11th Cir. 1993)); Campbell v. CitiFinancial Mortgage Co.,

Inc., No. CV-06-BE-0302-E, 2006 WL 8436895, at *1 (N.D. Ala. June 2, 2006)

(citing Kenworth of Birmingham, Inc. v. Langley, 828 So. 2d 288, 290 (Ala.

2002)).      A “summary judgment-like standard” applies to motions to compel

arbitration, and “a district court may conclude as a matter of law that parties did or

did not enter into an arbitration agreement only if ‘there is no genuine dispute as to

any material’ fact concerning the formation of such an agreement.” Bazemore v.

Jefferson Capital Sys., LLC, 827 F.3d 1325, 1333 (11th Cir. 2016) (quoting Fed. R.

Civ. P. 56(a)). As with a motion for summary judgment, “‘conclusory allegations

without specific supporting facts have no probative value’ for a party” opposing a

motion to compel arbitration. Id. (quoting Leigh v. Warner Bros., 212 F.3d 1210,

1217 (11th Cir. 2000)).

II.   FACTUAL BACKGROUND

      Compass hired Bester and Gunn as contract analysts in August 2014 and

June 2016, respectively. Docs. 1 at 5; 9-1 at 3; 9-2 at 2. When Bester and Gunn

applied for employment, they each signed an application containing an agreement

to arbitrate any potential claims “concerning any aspect of [their] employment


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relationship or termination,” and acknowledging that “if [they are] selected for

employment . . . , [they] remain obligated to bring any claim concerning [their]

application[s] for employment, [their] employment, or termination of [their]

employment through the Company Alternative Dispute Resolution Policy.” Docs.

9-1 at 3, 9-10; 9-2 at 3, 10.

      In addition, Compass maintains a policy called “‘CARE: Communications,

Answers and Resolution for Employees Policy and Procedures,” for resolving

disputes with its employees. See doc. 9-1 at 3, 12. The CARE Policy provides,

among other things, that “an employee’s agreement to submit disputes to

arbitration is a condition of employment for those hired on or after April 1, 2000,”

and that “[a]rbitration shall be the final and exclusive forum for the resolution of

all employment-related disputes that are covered by the Policy.” Doc. 9-1 at 3, 12,

14. After hiring Bester and Gunn, Compass provided them access to its employee

handbook, which outlines the CARE Policy and states that the Policy “is a

contract.” Docs. 9-1 at 4, 27-28; 9-2 at 3, 13. Compass also trained Bester and

Gunn about its code of conduct, which provides that “[t]he use of alternative

dispute resolution and arbitration to resolve certain employment-related disputes

based on a legal claim is an essential element of the employment relationship, and

your agreement to submit disputes based on a legal claim to arbitration is a




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condition of employment for those hired on or after April 1, 2000.” Docs. 9-1 at 3-

4, 32, 35; 9-2 at 3, 13.

       According to Bester and Gunn, Compass’ pay, performance evaluation, and

promotion practices disadvantage African-American and female employees by

among other things, paying them significantly less than their Caucasian and male

counterparts. Doc. 1 at 8-10, 23-25. Bester and Gunn, who allege that Compass

has passed them over for promotions, assert EPA and § 1981 claims individually

and on behalf of a class of female, African-American employees. Id. at 10-11, 23-

30.

III.   ANALYSIS

       Compass moves to compel arbitration pursuant to the Federal Arbitration

Act (“FAA”), 9 U.S.C. § 1, et seq. Doc. 9. The FAA establishes that arbitration

agreements contained in contracts involving interstate commerce are enforceable, 9

U.S.C. § 2, and “embodies a ‘liberal federal policy favoring arbitration

agreements,’” Hill v. Rent-A-Center, Inc., 398 F.3d 1286, 1288 (11th Cir. 2005)

(quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24

(1983)). “By its terms, the Act leaves no place for the exercise of discretion by a

district court, but instead mandates that district courts shall direct the parties to

proceed to arbitration on issues as to which an arbitration agreement had been

signed.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (emphasis


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in original). In addition, “as a matter of federal law, any doubts concerning the

scope of arbitrable issues should be resolved in favor of arbitration . . . .” Moses

H. Cone Mem’l Hosp., 460 U.S. at 24-25.

      Although federal policy favors arbitration agreements, “a party cannot be

required to submit to arbitration any dispute which he has not agreed to so submit,”

Steelworkers v. Warrior & Gulf Nav. Co., 363 U.S. 574, 582 (1960), and

“[t]he threshold question of whether an arbitration agreement exists at all is

‘simply a matter of contract,’” Bazemore v. Jefferson Capital Sys., LLC, 827 F.3d

1325, 1329 (11th Cir. 2016) (quoting First Options of Chicago, Inc. v. Kaplan, 514

U.S. 938, 943 (1995)). To determine whether parties agreed to arbitrate a dispute,

courts must consider (1) whether a valid written agreement to arbitrate exists and

(2) whether the agreement encompasses the dispute. See Green Tree Fin. Corp. v.

Bazzle, 539 U.S. 444, 452 (2003). Finally, federal courts generally apply state

contract law to this determination. First Options of Chicago, 514 U.S. at 944.

      A.    Whether a valid arbitration agreement exists that encompasses this
            action
      Compass argues that the arbitration agreement is a valid contract that

evidences a transaction involving interstate commerce, and that the plaintiffs’

claims are subject to arbitration. Doc. 9 at 6-12. To support that argument,

Compass provides evidence that Bester and Gunn each signed an arbitration

agreement when they applied for employment; that Compass maintains the CARE

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Policy for employee disputes, which includes an arbitration agreement; and that

Bester and Gunn signed forms acknowledging that the CARE Policy is a contract.

See docs. 9-1; 9-2. In light of that evidence, which Bester and Gunn do not

dispute, a valid arbitration agreement exists between the parties. See Shaffer v.

Regions Fin. Corp., 29 So. 3d 872, 880 (2009) (“The elements of a valid contract

include: ‘an offer and an acceptance, consideration, and mutual assent to terms

essential to the formation of a contract.’”) (quoting Ex parte Grant, 711 So. 2d

464, 465 (Ala. 1997)); Baptist Health System, Inc. v. Mack, 860 So. 2d 1265, 1268,

1274 (Ala. 2003) (finding that an employee is bound by the terms of a written

arbitration policy when the employee signed an acknowledgment that he received

the policy and assented to its term through continued employment). In addition,

the CARE Policy provides that “both Compass and the employee agree to arbitrate

all claims that arise or involve a claim under any federal . . . statute . . . regarding

or relating to matters of employment, [or] employment discrimination . . .

including, but not limited to . . . the Civil Rights Act of 1866 and all applicable

amendments . . . .” Doc. 9-1 at 14. Based on that language, the plaintiffs’ § 1981

and EPA claims fall squarely within the scope of the arbitration agreement—a

contention that Bester and Gunn do not dispute, see doc. 12.




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      B.     Whether Compass can enforce the arbitration agreement

      Bester and Gunn argue that the court should not allow Compass to enforce

the arbitration agreement they signed because Compass discriminatorily enforces

the agreement.     Allegedly, Compass does not enforce the agreement against

Caucasian or male employees, which the plaintiffs contend is unconstitutional and

a violation of § 1981. Doc. 12 at 1-5. The plaintiffs also contend that Compass’

policy of exempting employees hired before April 1, 2000 from the obligation to

arbitrate could be discriminatory. Id. at 6-7. Finally, the plaintiffs argue that

Compass fraudulently induced them to enter the agreement. Id. at 7-9. The court

addresses these arguments in turn.

             1.     Alleged discriminatory enforcement

      The plaintiffs have not cited any authority for the proposition that a party

may waive its right to arbitrate by allegedly enforcing an arbitration agreement in a

discriminatory manner, and the court has found no such authority. Moreover, the

Eleventh Circuit recently found that a bank did not waive its right to arbitrate by

seeking to enforce an arbitration agreement against some customers, while

litigating the claims of other customers. See Gutierrez v. Wells Fargo Bank, NA,

889 F.3d 1230, 1237-39 (11th Cir. 2018) (reversing a district court order denying

the bank’s motion to compel arbitration with respect to the unnamed plaintiffs in a

class action, and holding that the bank did not waive its right to arbitrate the claims


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of those unnamed plaintiffs by litigating claims brought by the named plaintiffs).

Based on the court’s analysis in Gutierrez, Compass’ alleged discriminatory

enforcement of the arbitration agreement does not render the agreement

unenforceable.    Rather, the plaintiffs must raise the alleged discriminatory

enforcement in arbitration with their other claims.

             2.    Alleged discriminatory pre-April 1, 2000 exemption

      Bester and Gunn’s contention that Compass’ exemption of employees hired

before April 1, 2000 from the obligation to arbitrate may have a discriminatory

impact is rank speculation and not supported by any facts. See doc. 12 at 6-7. In

addition, the plaintiffs have not cited any authority for the proposition that an

otherwise neutral arbitration agreement may be unenforceable if it has a

discriminatory impact.    See id.    Accordingly, the plaintiffs’ contentions that

Compass’s arbitration policy may have a discriminatory impact are not sufficient

to meet their burden of proving that Compass cannot enforce the arbitration

agreement. See Gutierrez, 889 F.3d at 1235-36 (“‘[B]ecause federal law favors

arbitration, any party arguing waiver of arbitration bears a heavy burden of

proof.’”).

             3.    Alleged fraudulent inducement

      Fraud in the inducement may render an arbitration agreement unenforceable.

See Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 68 (2010) (“Like other


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contract, [arbitration agreements] may be invalidated by ‘generally applicable

contract defenses, such as fraud, duress, or unconscionability.’”) (quotation

omitted). The court can decide the plaintiffs’ fraudulent inducement argument to

the extent they argue that the fraud involves the making of the agreement to

arbitrate. Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 403-04

(1967). “But the statutory language [of the FAA] does not permit the [] court to

consider claims of fraud in the inducement of the contract generally.” Id. at 404.

Here, Bester and Gunn argue that they accepted employment with Compass based

on the alleged misrepresentations “that Compass was an equal opportunity

employer and all disputes for post April 1, 2000 hires would be resolved through

the CARE [Policy] requiring binding arbitration.” Doc. 12 at 9. This contention

that Compass fraudulently induced the plaintiffs based on the alleged

representation that Compass is an equal opportunity employer involves the

employment contract generally, rather than the agreement to arbitrate itself.

Therefore, the court cannot consider this contention in ruling on the motion to

compel. See Prima Pain Corp., 388 U.S. at 404. In addition, even assuming that

the CARE Policy’s statement that “[a]rbitration is mandatory for all persons

employed by Compass with an employment date of April 1, 2000 or later” is false,

see doc. 9-1 at 24, Bester and Gunn have not presented any evidence that they

acted in reliance on that misrepresentation, or that they incurred damages as a


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result. See doc. 12. Consequently, Bester and Gunn have not established that

Compass fraudulently induced them to enter into the arbitration agreement, or that

Compass cannot enforce the agreement against them. See Kidder v. AmSouth

Bank, N.A., 639 So. 2d 1361, 1362 (Ala. 1994) (noting that the “elements of

actionable fraud based on a misrepresentation” include “action upon the false

representation by the plaintiff and [] loss, harm, or damage proximately resulting

from the false representation”).

      For all these reasons, the motion to enforce the arbitration agreement is due

to be granted.

      C.     Whether the court should strike Bester and Gunn’s class claims

      Compass also argues that the court should strike Bester and Gunn’s class

claims and compel arbitration only on their individual claims. Doc. 9 at 12-13.

The CARE Policy provides in pertinent part as follows:

      Neither the employee nor Compass will have the right to participate as
      a class representative or member of any class of claimants for any
      claim that is subject to arbitration under this Policy. A claim by, or on
      behalf of, other persons will not be considered in, joined with, or
      consolidated with . . . and a claim shall not be arbitrated on a class
      action . . . or other representative basis. Any dispute regarding the
      prohibitions in the prior sentence shall be resolved by the arbitrator(s)
      ....

Doc. 9-1 at 16. Compass asserts that the CARE Policy is clear that employees

cannot pursue class and collective claims in arbitration. Docs. 9 at 12-13; 13 at 5-

6. While that may be true, the CARE Policy also explicitly states that any dispute
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regarding this particular issue shall be resolved by the arbitrator. Doc. 9-1 at 16.

As such, this is an issue, as Bester and Gunn note, see doc. 12 at 9-10, for the

arbitrator to decide. Therefore, the court declines to strike the plaintiffs’ class and

collective claims. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 336

(2011) (“The ‘principal purpose’ of the FAA is to ‘ensure that private arbitration

agreements are enforced according to their terms.’”) (quotation and alteration

omitted).

IV.   CONCLUSION

      Based on the foregoing, Compass’ motion to compel arbitration is due to be

granted, and its motion to strike plaintiffs’ class and collective claims is due to be

denied. The court will enter a separate order directing the parties to arbitration.

      DONE the 29th day of April, 2019.


                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE




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